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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC-KES                                      Date: April 22, 2021

   Title: LA ALLIANCE FOR HUMAN RIGHTS ET AL. v. CITY OF LOS ANGELES ET
          AL.


   PRESENT:

                      THE HONORABLE DAVID O. CARTER, JUDGE

                  Kelly Davis                                    Not Present
                Courtroom Clerk                                 Court Reporter

         ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
               PLAINTIFF:                                   DEFENDANT:
              None Present                                   None Present


          PROCEEDINGS (IN CHAMBERS): CLARIFICATION ORDER

          The Court provides the following two clarifications regarding the Preliminary
   Injunction issued on April 20, 2021. First, the directives under “Accountability” and
   “City- and County-Wide Actions” pertain to all districts in the City and County and are
   not limited in any way to Skid Row. Second, the provision regarding the cessation of
   sales and transfers by lease or covenant under Section 2(a)(ii) does not apply to projects
   in progress as of the date of the order, April 20, 2021.

          The Clerk shall serve this minute order on the parties.
